This action was originally commenced in the district court of Creek county, Okla., by Ada Tiger, plaintiff in error, plaintiff below, against W. E. Hensley et al., defendants in error, defendants below, to recover an undivided one-fifth interest in lands in Creek county, Okla., described in the petition, together with damages for unlawfully withholding possession thereof.
This cause was tried upon the same evidence as cause No. 16234, Tiger v. Wildman, 116 Okla. 171, 244 P. 29, this day decided by this court. The issues made up by the pleadings and decisive facts in this case are the same as in the above numbered case, except as to the names of the defendants in error, the description of the lands, and the values thereof, and the amount of damages claimed by the plaintiff.
Upon said issues, facts and legal propositions applicable, the decision in the instant case must follow the decision in case No. 16234, supra, and the opinion in that case is adopted as the opinion in this case, and the syllabus of that case is also adopted, and the judgment of the lower court is affirmed in part and reversed in part under the same orders.
By the Court: It is so ordered.